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Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy



Part 1: Income
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Part 2: List Certain Transfers Made Before Filing for Bankruptcy
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Part 3: Legal Actions or Assignments
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Part 4: Certain Gifts and Charitable Contributions




Part 5: Certain Losses




Part 6: Certain Payments or Transfers
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Part 7: Previous Locations




Part 8: Health Care Bankruptcies




Part 9: Personally Identifiable Information
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Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
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Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own




Part 12: Details About Environmental Information
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Part 13: Details About the Debtor’s Business or Connections to Any Business
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Part 14: Signature and Declaration




                                                    Timothy George


                              Former President
